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                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA
                                       M iamiDivision
                             CaseNumber:18-24190-ClV-M O REN O

 W ILLIAM 0 .FULLER and M ARTm
 PINILLA,l1,

               Plaintiffs,
 VS.

 JOE CAROLLO and JOHN DOES 1-10,

               Defendants.

          O RDER ADOPTING M AGISTRATE JUDGE LOUIS'S REPO RT AND
                                    RE CO M M EN D ATIO N

        TH E M A TTER was referred to the H onorable Lauren F.Louis,U nited States M agistrate

 Judge,foraReportand Recommendationon DefendantJoe Carollo'sM otion toDismiss(D.E.
 53),DefendanttheCity ofMiami'sM otion to Dismiss(D.E.54),and M ariaLugo'sM otion to
 Dismiss (D.E.64). The M agistrate Judge tiled a Reportand Recommendation (D.E.99) on
 April30.2019. The Courthas reviewed the entire file and record. The Courthasm ade a de

 novo review of the issues that the objections to the Magistrate Judge's Report and
 Recomm endation present,and being otherwise fully advised in thepremises,itis

        ADJUDGED that United States M agistrate Judge Lauren             Louis's Report and

 Recomm endation isAFFIRM ED and ADO PTED .Accordingly,itis
        ADJUDGED that Defendant Joe Carollo's M otion to Dismiss is GRANTED and

 Plaintiff shall have leave to am end the complaint consistent with the Report and

 Recommendation.DefendantCarollo'sM otion to Dism iss isDENIED asto qualified imm unity

  forthe reasons detailed in the Reportand Recom m endation.ltis
Case 1:18-cv-24190-RS Document 118 Entered on FLSD Docket 06/13/2019 Page 2 of 2



        AD JU D GE D thatD efendantthe City of M iam i's M otion to D ism iss is GR AN TED and

 Plaintiff shall have leave to amend the complaint consistent with the Repoh and

 Recom m endation. Itis

        ADJUDG ED thatDefendantM aria Lugo'sM otion to Dism iss is GRANTED in partas

 setforth in theReportand Recomm endation.Itisalso

        ADJUDGED thatthe motionsforextension oftime to file objections and responses
 (D.E.103,109)areDENIED asmoot.Itisalso
        ADJUDG ED thatPlaintiff shallfile an am ended complaintby no laterthan Jupe 26.

 2019. Itisalso

       ADJUDGED thattheJointMotion to Stay Discovery (D.E.71)isDENIED asmootin
 view ofthisorder.

       D ON E AN D O RD ERED in Cham bersatM iam i,Florida, this     V ofJune2019       .




                                           FEDE     O A .M O REN O
                                          UNIYED STATESDISTRICTJUDGE
 Copiesfum ished to:

 United StatesM agistrate JudgeLauren F.Louis

 CounstlofRtcord
